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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                           CASE NO.: 3:00cr48/LAC
                                                   3:05cv136/LAC/MD
THOMAS L. McCRIMMON
_____________________________________________________________________
                                       ORDER
       Upon consideration of the Report and Recommendation of the Magistrate
Judge filed on May 11, 2005, pursuant to 28 U.S.C. § 636(b)(1)(B), and after reviewing
objections to the Recommendation, if any, the Recommendation is adopted as the
opinion of the Court.
       Accordingly, it is ORDERED:
       Defendant’s motion to dismiss his § 2255 motion (doc. 1268) is granted and
this case is dismissed without prejudice.


       DONE AND ORDERED this 13th day of June, 2005.




                                       s /L.A. Collier
                                       LACEY A. COLLIER
                                       SENIOR UNITED STATES DISTRICT JUDGE
